
PER CURIAM.
Although none of the parties mentioned it in their briefs, a jurisdictional question appears in this case. We noted it at oral argument and the parties have furnished supplemental briefs dealing therewith.
An information was filed in the Court of Record for Broward County, Florida, charging the defendant Talbot and one Stanley Cole with robbery. A motion for a change of venue was made by the defendant and an order was entered thereon *48which transferred the cause to the Criminal Court of Record in Polk County, Florida, for trial. The defendant was there convicted by jury verdict. After the verdict was rendered, the trial court on stipulation of the parties signed an order which transferred the cause back to the Court of Record for Broward County, Florida. Thereafter, on 1 September 1972 the trial judge sitting in Broward County, Florida entered judgment and sentence which has been filed in that court. The present appeal has been taken from that judgment and sentence.
This procedure produces the anomaly of an adjudication of guilt and sentencing by a different court than that in which the defendant was convicted. It produces the added peculiarity that in the event the appeal from the judgment of the Court of Record of Broward County reveals the need for a new trial, this court would be in the position of having to return the case to the Court of Record for Polk County— a court not within our district.
We conclude that once the cause was transferred to and actually tried in the Criminal Court of Record for Polk County, jurisdiction remained in that court for the purpose of adjudication and sentencing. Compare Resnick v. State, Fla.App.1973, 274 So.2d 589. For the purpose of convenience we hold that the order transferring the cause back to the Court of Record for Broward County shall be given effect only as an administrative order for the convenience of the trial judge and the adjudication and sentence shall be treated as an adjudication and sentence of the Court of Record of Polk County, Florida. It is therefore,
Ordered that this appeal be transferred, pursuant to Rule 2.1 a(5)(d), F.A.R. 32 F.S.A., to the Second District Court of Appeal for the State of Florida, and that the Clerk of the Circuit Court for Broward County, Florida transfer to the Clerk of the Circuit Court for Polk County, Florida, for filing therein any of the original record or proceedings, which the former may now have in his possession.
